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2                                UNITED STATES DISTRICT COURT
3                             NORTHERN DISTRICT OF CALIFORNIA
4                                     SAN FRANCISCO DIVISION
5    IN RE: CATHODE RAY TUBE (CRT)                  Case No. 3:07-cv-5944
     ANTITRUST LITIGATION                           MDL No. 1917
6
                                                    CLASS ACTION
7
                                                    ATTACHMENT A
8    This Document Relates to:                      TO NOTICE OF APPEAL
9    All Indirect Purchaser Actions
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                                      ATTACHMENT A TO NOTICE OF APPEAL
                                      Case No. 3:07-cv-5944, MDL No. 1917
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1
     Names of Appellants: Indirect Purchaser Plaintiff Class and class members Anthony Gianasca,
2
     Gloria Comeaux, Mina Ashkannejhad individually and/or as Administrator of the Estate of the
3
4    Late R. Deryl Edwards, Jr., Jeffrey Speaect, Rosemary Ciccone and Jeff Craig

5
     Order Appealed From: Order on Attorneys’ Fees, Expenses and Incentive Awards Re: Indirect
6
     Purchaser Plaintiff Settlements, dated August 3, 2016, entered August 3, 2016 (Doc. No. 4740)
7
8    A copy of the Order is attached to the Notice of Appeal as Attachment B

9
     Names of Parties to Order and Names and Addresses of Attorneys for Each Party:
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     See Attachment C
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                                      ATTACHMENT A TO NOTICE OF APPEAL
                                     Case No. 3:07-cv-5944, MDL No. 1917
